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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

JEREMY MANCINI BATES, and ELAINA
HALL, Individually and on behalf of all
others similarly situated,

        Plaintiff,
                                               Case No:
   v.                                          CLASS ACTION

VERIZON CONNECT FLEET USA LLC
And VERIZON CONNECT INC.

     Defendants.
____________________________________.

        CLASS ACTION COMPLAINT FOR VIOLATIONS OF NORTH
           CAROLINA AND ILLINOIS OVERTIME WAGE LAWS

        Plaintiff, JEREMY MANCINI BATES and ELAINA HALL, individually,

and on behalf of all others similarly situated sues Defendants, VERIZON

CONNECT FLEET USA LLC. and VERIZON CONNECT INC. (f/k/a Fleetmatics

USA, LLC) (hereinafter jointly referred to as “Verizon” and/or “Defendants”) for ,

and pursuant to Rule 23 of the Fed Rules of Civ. Proc., seek class certification on

behalf of all others similarly situated, and state as follows:

                                 INTRODUCTION
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        1.      The Defendants in this case have willfully FAILED to pay overtime

wages to all Inside Sales Representatives (ISR) employees working under various

job titles, some self-created, others created by the company such as: Business

Development Representative (BDR), Business Development Managers (BDM),

Account Managers, Account Executives, Closers, Consultants, Fleet Managers,

Development Managers, Associate Sales Partners or Sales Partners (aka Closers),

Sales Specialists, and other interchangeable or related job titles, all of which are

now or were at one time, used to identify employees working as non-exempt,

hourly paid Inside Sales Representatives (ISR). Generally, the BDR are lead

generators and appointment settlers and the Closers/Sales Partners are the persons

that consummate the sale. All the members of the putative classes were paid on an

hourly, non-exempt status with a bonus plan based upon achieving a percentage to

goal.

        2.      Historically, Defendants, by and in conjunction with Verizon

Communications Inc. the parent company of Defendants, purchased Fleetmatics

USA, LLC for $2.4 billion dollars in 2016 to commence or gain access to the

telematics industry and sell GPS tracking software and products focused on fleet

management, mobile workforce solutions and IoT (Internet of Things).




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      3.      After the purchase, Verizon continued to operate the purchased

Fleetmatics company and its assets without name change and continued to operate

the company until on or about April 1, 2018, when the name was officially

changed to Verizon Connect and employees were then paid directly by Verizon.

      4.      Defendants operated its business from 5 offices:      1) San Diego,

California; 2) Rolling Meadows, Illinois; 3) Charlotte, North Carolina; 4) Tampa,

Florida; 5) Tempe, Arizona (since Closed) sometime in 2019 or 2020, from where

it employed similarly situated ISR, all working on similar compensation plans,

performing similar if not identical job responsibilities, and all suffering from the

same, common unlawful pay practices pursuant to a de facto policy and scheme to

avoid overtime wages and save millions of dollars in labor costs.

      5.      It is not a mere coincidence that Verizon continues to subject

employees to the same unlawful pay practices that plagued Fleetmatics USA,

LLC., and which resulted in a settlement on November 3, 2016, in the case of

Gillard, Stramiello and Pate v. Fleetmatics USA LLC, Case no. 8:16-cv-00081,

DE 70, in the sum of $2,102,250.00. Thereafter, it was business as usual, and

Defendants continued with a scheme to avoid paying overtime wages to all its ISR

nationally, and thus save and steal millions of dollars of wages owed to 1000 or

more employees, but instituting a De Facto policy against reporting more than 40



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hours and also intentionally not putting in place an accurate and contimeproance

time clock system.

      6.      Ironicall, Defendants even WARN the public of the risks of not

properly tracking the work hours of non-exempt employees in their own literature

and        marketing     materials     easily     found      on      the      web:

https://www.verizonconnect.com/resources/article/software-improves-time-card-re

porting/ “Accurate, Efficient, Simplified Timecard Reporting”.

      7.      Plaintiff herein commences this legal action against Defendants for

willful violations of federal and state wage and hour overtime pay laws and related

regulations on behalf of all similarly situated current and former employees of

Defendants who worked anytime in the preceding three (3) years to the present and

continuing.

      8.      Defendants have been aware of the claims of Mancini Bates and all

other similarly situated class members of the NC and Ill classes, including upwards

of 170 present and former ISR working from these same two North Carolina and

Illinois offices of Defendants the FLSA national collective action lawsuit by ISR

seeking recovery of unpaid overtime wages was filed on May 28, 2020, in the

related case of Garnick, Romeo and Hanvey v. Verizon Connect Fleet USA LLC,

Case No: 8:20-CV-01474-MSS-TGW , Middle District of Florida.



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      9.      Pursuant to a national, common policy and plan, Plaintiff and the

classes of similarly situated current and former employees worked under company

assigned or self created job titles, all used to describe the same inside sales

position, including but not limited to the following: “Account Executive”,

“Business Development Representative”, “Specialist”, “Business Development

Consultant”, “National Account Manager”, “Fleet Consultant”, “Senior Business

Developer”, Business Coordinator”, “Associate Sales Partner”, “Sales Partner”,

“closer”, and “Business Developer”. These titles are all used to describe persons

working as Inside Sales Representatives, selling products and services on a

non-retail basis to businesses and commercial enterprises.        Plaintiffs, and the

classes of similarly situated employees, were unlawfully not compensated a

premium for all hours worked over forty (40) in each and every workweek by a

scheme and plan of Defendant to evade the overtime wage laws and save many

millions of dollars in labor costs to the detriment and harm of Plaintiffs and all

other Inside Sales Representatives.

      10.      Indeed, just examining the complaint in Gillard, et. al. v. Fleetmatics

USA LLC, Verizon, knew what had been going on, and had knowledge of this case

at the time of the settlement with Fleetmatics USA, LLC., as clearly evident by the

timing of the purchase of Fleetmatics USA, LLC. in the same calendar year.



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Further the same officers, managers and executives who were witness and aware of

the off the clock, unpaid overtime hours being incurred by ISR, along with the

unlawful pay practices of Fleetmatics USA LLC, continued on with Verizon after

the sale and were complicit in the continued willful violation of the state and

federal overtime wage laws.

      11.    However, after the purchase by Verizon, it was “business as usual”,

permitting Inside Sales Representatives to suffer to work off the clock and to work

without being paid a premium for all hours worked at rates of time and one half

their regular rates of pay.

      12.    Just as Fleetmatics USA, LLC. failed, as required by the FLSA and

respective state overtime wage laws to contemporaneously track and record the

work hours of its employees, Defendant VERIZON maintained the same unlawful

practices nationally, and intentionally.

      13.    Defendants did not institute during the years 2017, to the present, any

actual time tracking or recording system for the work hours of the Inside Sales

Representatives, which could have helped minimize some of the problems here of

off the clock work and automatic deductions of 1 hour per day for meal breaks

never fully taken.




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      14.    While Defendants did have some system for hourly employees to

report work hours, the Defendants still violated 29 CFR Part 516, and thus the

respective state laws of NC and Ill. Alternatively, even if later a court concludes

the system used by Defendants satisfies 29 CFR Part 516 record keeping

requirements, and the same for the NC and Ill. record keeping requirements, these

time records are wholly inaccurate and unreliable as Defendants did not track and

record the actual times employees started working, took breaks, and left for the

day; worse, and managers just entered work hours for and on behalf of ISR and

were complicit in the fraudulent time records activities of Defendants.

      15.    Defendants absolutely knew and knows today that Inside Sales

Representatives routinely worked overtime hours off the clock and by working

through meal breaks, as managers and supervisors witnessed the extra hours,

encouraged and even pressured Inside Sales Representatives to work as many

hours as possible to hit quotas and meet goals.

      16.    Moreover, Defendants never asked employees to leave after the shift

ended, never prohibited them from working prior to the shift time, and witnessed

and knew that employees, including Plaintiffs, routinely worked through some or

all of the (1) one hour provided meal break as to which Defendant took an

automatic one (1) hour deduction from the total work hours each day, regardless of



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whether Inside Sales Representatives took such uninterrupted meal breaks of 20

minutes or simply worked throughout the entire meal break time.

      17.    Defendants simply turned a “blind eye” to all of the off the clock work

for numerous reasons, while pressuring, coercing, intimidating and encouraging

Inside Sales Representatives to work as many hours as necessary to hit their

quotas, metrics and production goals.

      18.    Defendants also engaged in a scheme to avoid paying overtime wages

by misleading employees with false information and false statements about the

overtime laws and their entitlement, and intentionally by actions and omissions of

facts and law in representations and communications, led closers to believe they

were not entitled to overtime premiums.

      19.    The general de Facto policy for all ISR was to not report more than 8

hours per day and no more than 40 hours per week on time sheets even when

management knew and should have known IRS were working more than 40 hours

routinely.

      20.    Defendants have willfully failed to pay Plaintiff, and all similarly

situated persons, in accordance with the Illinois and North Carolina overtime wage

laws. Specifically, Plaintiffs, and similarly situated employees, were not paid time




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and a half of their regular rate pay for all hours worked in excess of forty (40)

hours per week, nor paid a premium for all overtime hours worked.

      21.   Plaintiff, and the class of similarly situated employees, did not and

currently do not perform work that meets the definition of any exemption under the

FLSA or the NC and Ill wage laws, and the Defendants’ pay practices are not only

clearly unlawful, but UNFAIR as well.

      22.   In this pleading, the term “Inside Sales Representative” means any

employee of Defendant working under the various titles of: “Account Executive”,

Business Development Representative” (BDR), “Closer”, “Associate Sales

Partner”, “Sales Partner”, “Specialist”, Business Development Consultant”,

National Account Manager, Regional Account Executive, Fleet Manager, Senior

Business Developer, Business Developer, Business Coordinator, Specialist

Solutions Consultant or any other title or position, where employees perform

substantially the same work as an ISR (discovery may reveal additional job titles

and employees that should be included). Inside Sales Representatives (ISR) in this

class make inbound and/or outbound phone calls (cold calls), research the internet

and either make internet presentations or demonstrations or schedule this for others

such as Closers to finalize and consummate the sales.




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      23.    In this pleading, “Defendants” means the named Defendants and any

other subsidiary or affiliated and wholly owned corporation, organization or entity

responsible for the employment practices complained of herein (discovery may

reveal additional defendants that should be included).

      24.    The allegations in this pleading are made without any admission that,

as to any particular allegation, Plaintiff bears the burden of pleading, proof, or

persuasion. Plaintiffs reserve all rights to plead in the alternative.

      25.    The state overtime wage laws of North Carolina, Illinois are modeled

after and largely follow the FLSA and DOL regulations related to overtime pay.

                          JURISDICTION AND VENUE

      26.    This Court has subject matter jurisdiction over this action pursuant to

diversity 28 U.S. Code § 1332 because this action involves citizens of different

states (North Carolina and Illinois) and Defendants are Delaware Corporation, with

principal place of business in this district, located in Fulton County, Georgia. In

addition, the damages at issue exceed the sum of $75,000.00.

      27.    This Court alternatively or in addition has subject matter jurisdiction

over this action pursuant to The U.S. Class Action Fairness Act of 2005, 28 U.S.C.

Sections 1332(d), 1453, and 1711–1715.




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       28.   This Court is empowered to issue a declaratory judgment under 28

U.S.C.§§ 2201 and 2202.

       29.   This Court has personal jurisdiction over this action because the

Defendant continuously conducts substantial business in Alpharetta, Fulton

County, Georgia from where Defendants’ principal place of business is located at

5055 North Point Parkway, Alpharetta, GA 30022.

       30.   Venue is proper to this Court pursuant to 28 U.S.C. Sec. 1391(b)

because the Defendants’ principal place of business is in this district and where it

governs, instituted, enforced and controls the policies and pay practices at issue in

this case.

       31.   This Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367. The state law claims here are essentially identical,

but for one or more differences in remedies available to the Plaintiff, such that the

wage claims of the Plaintiff, and the class or classes of similarly situated arise out

of the same common nucleus of operative facts such that they form part of the

same case or controversy.

                                  THE PARTIES

       32.   Plaintiff Elaina Hall was at all times material an employee of

Defendant working from the Charlotte, North Carolina office as a BDR during the



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period of 2013 until approximately June 2019. Hall is an employee pursuant to the

North Carolina wage laws, and entitled to be paid premiums for all overtime hours

worked.

      33.    Plaintiff Jeremy Mancini Bates at all times material was an employee

of Defendant working as a BDR from the Defendants' Rolling Meadows, Ill. office

during the period of approximately August 2018 until August 2020. Mancini Bates

was also a covered employee as defined by the Illinois state wage laws.

      34.    In April 2018, Defendants commenced paying its ISR under the

Verizon Connect company name, whereas prior to this date, all ISR were paid by

the former Fleetmatics USA company or Companies.

 DEFENDANTS, VERIZON CONNECT FLEET USA LLC AND VERIZON

                                CONNECT INC.

      35.    Defendant, VERIZON CONNECT FLEET USA LLC. (hereinafter

“Defendant” and/or “Verizon”), is a Foreign Limited Liability Corporation, and a

wholly owned subsidiary of VERIZON COMMUNICATIONS INC., a publicly

traded corporation on the NYSE under the symbol VZ, and has a principal place of

business located at 15055 North Point Parkway, Alpharetta, GA 30022, and at all

times material hereto, has routinely and consistently conducted business in the

State of GEORGIA, as well as the states of North Carolina and Illinois.



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Defendant may be served through its Registered Agent for service of process, CT

Corporation System, at 289 S Culver St, Lawrenceville, GA, 30046-4805, USA

and/or its physical offices in Alpharetta, Georgia.

      36.    Defendant, VERIZON CONNECT INC. (hereinafter “Defendant”

and/or “Verizon”), is a Foreign Limited Liability Corporation, and a wholly owned

subsidiary of VERIZON COMMUNICATIONS INC., a publicly traded

corporation on the NYSE under the symbol VZ, and has a principal place of

business located at 15055 North Point Parkway, Alpharetta, GA 30022, and at all

times material hereto, has routinely and consistently conducted business in the

State of GEORGIA, as well as the states of North Carolina and Illinois.

Defendant may be served through its Registered Agent for service of process, CT

Corporation System, at 289 S Culver St, Lawrenceville, GA, 30046-4805, USA

and/or its physical offices in Alpharetta, Georgia.

      37.    Upon information and belief both Defendants are joint employers of

the Plaintiffs, who directed the work of the Plaintiffs, and who jointly created,

enforced and were responsible for the oversight of all ISR at issue in this case.

      38.    As stated by Defendants on their Verizon website, Defendants are a

company which offers: “Guiding a connected world on the go by automating,




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optimizing and revolutionizing the way people, vehicles and things move through

the world”.

      39.     Defendants have or had eight (8) offices in the US, including:

Chicago, Atlanta, Charlotte, Waltham, Boston, Irvine, San Diego, and Temple

Terrace, along with one (1) office in Toronto from where ISR worked. Defendants

also employed similarly situated ISR in other geographic locations.

      40.     Defendants are jointly and individually an employer within the

definition of the FLSA and the respective NC and Ill wage laws; Defendants had

revenues exceeding $500,000 annually in all applicable time periods, and are or

were involved in interstate commerce.

      41.     Similarly, Defendants at all times material were and are an employer

within the definition of the respective state wage and hour laws of the states of

California, North Carolina and Illinois.

      42.     Defendants provide fleet operators (companies or businesses with

numerous vehicles) with an internet based system that enhances workforce

productivity through real time vehicle tracking, route optimization, job dispatch,

and fuel usage monitoring.




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      43.    Defendants are a direct competitor of Fleetcor, d/b/a “NexTraq” and

both companies serve the same commercial fleet clients with telematics solutions,

GPS and tracking.

      44.    Competitors who also employ similar ISR such as Fleetcor and

NEXTRAQ, have been caught numerous times stealing wages, and violating the

FLSA for inside sales representatives through numerous unlawful pay practices,

and when factoring in the Gillard et al v. Fleetmatics case settlement for ISR, it is

unlikely that Defendant Verizon has not already had more than enough reasons to

have been aware of the unlawful pay practices complained of herein and continued

to act with reckless disregard for the Illinois and North Carolina overtime wage

laws, if not willfully continuing to violate the the overtime wage laws.

      45.    Thus, Defendants had a duty to have investigated, studied, audited,

and assessed its pay practices and its federal and state law duties and obligations

and determine if it was in compliance; and the failure to have done so subjects the

Defendants to payment of liquidated damages under NC law for all similarly

situated North Carolina class members, and treble damages for Mancini Bates, and

the Illinois class members.

      46.    Further, as Defendants’ unlawful pay practices complained of herein

are and were willful violations of the respective wage laws of NC and ILL, a three



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(3) year statute of limitations applies and Plaintiff seek damages for 3 years

preceding the filing of this case individually and for all class members.

              FACTUAL AND CLASS ACTION ALLEGATIONS

      47.    This multi-class action lawsuit arises from a longstanding and

continuing wrongful scheme by Defendants to: a) willfully fail to accurately and

properly track and record the work hours of ISR, and b) willfully refuse to pay

overtime wages to a large class of Inside Sales Representatives who Defendant

knows or should have known, were working off the clock and working overtime

hours without being paid for all such hours.

      48.    Plaintiffs brings this suit individually, and on behalf of all similarly

situated persons composed of the following CLASS or CLASSES:

SINGLE CLASS OF ALL NORTH CAROLINA ND ILLINOIS ISR

      All employees working as Inside Sales Representatives under the
      titles of: Account Executive, Account Manager, Consultant,
      Business Development Representative, Closer, Associate Sales
      Partner, Sales Partner, Sales Representative, team leader, pod
      leader, or any other job titles used to describe non-exempt, inside
      sales positions, who are currently employed by or were previously
      employed with Fleetmatics USA, LLC or Verizon Connect Fleet
      USA LLC working from or reporting remotely to the Rolling
      Meadows, Illinois office, OR Charlotte, NC office within the 3
      three years preceding the filing of this lawsuit to the present.

**Plaintiff may alternatively seek class certification of 2 individual state
classes, but Plaintiff expects Defendants to agree that all are similarly
situated such that a single class should apply.


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ALTERNATIVELY:

CLASS A: THE NORTH CAROLINA CLASS

      All employees working as Inside Sales Representatives under the
      titles of: Account Executive, Account Manager, Consultant,
      Business Development Representative, Closer, Associate Sales
      Partner, Sales Partner, Sales Representative, team leader, pod
      leader, or any other job titles used to describe non-exempt, inside
      sales positions, who are currently employed by or were previously
      employed with Fleetmatics USA, LLC or Verizon Connect Fleet
      USA LLC working from in person or reporting remotely to the
      Charlotte, North Carolina office within the three (3) years
      preceding the filing of this lawsuit to the present.


CLASS B: THE ILLINOIS CLASS Illinois Minimum Wage Law

      All employees working as Inside Sales Representatives under the
      titles of: Account Executive, Account Manager, Consultant,
      Business Development Representative, Closer, Associate Sales
      Partner, Sales Partner, Sales Representative, team leader, pod
      leader, or any other job titles used to describe non-exempt, inside
      sales positions, who are currently employed by or were previously
      employed with Fleetmatics USA, LLC or Verizon Connect Fleet
      USA LLC working from in person or reporting to remotely from
      the Rolling Meadows, Illinois office within the 3 three years
      preceding the filing of this lawsuit to the present.


      49.   Plaintiffs are able to protect and represent the putative Class or

Classes, and they are willing and able, and consent to doing so. Plaintiff Mancini

Bates also worked in Defendant’s Rolling Meadows office and is familiar with the



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pay practices, company policies and procedures going back to when the company

was known as Fleetmatics.

      50.      Plaintiff Hall worked in Defendant’s Charlotte, NC office and is

familiar with the pay practices, company policies and procedures going back to

when the company was known as Fleetmatics.

      51.      Further in the Garnick case, the Court has issued an Order finding that

all ISR the ISR working for all the Defendants’ offices were similarly situated and

properly maintained as a single class in that national FLSA collective action, such

that a single class represented by Hall and Mancini Bates is proper here.

      52.      Plaintiff Hall can adequately represent the interests of the North

Carolina Class or a single class of all North Carolina and Illinois ISR.

      53.      Plaintiffs routinely worked more than forty (40) hours in workweeks

throughout his term of their employment with Defendant, and upwards of 40 other

present and former ISR (including sales partners/closers and BDR) working from

these same offices likewise in the related Garnick, Romeo and Hanvey v. Verizon

Connect Fleet USA LLC, Case No: 8:20-CV-01474-MSS-TGW , Middle District

of Florida case, have asserted and claimed to have worked overtime hours without

being paid premiums or any pay for all hours worked during the same relevant 3

year period.



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      54.    Plaintiffs and all others similarly situated routinely worked 9 hour

days, Monday to Friday and a standard minimum 45 hour workweek with

Defendants, who took from all ISR an automatic 10 hour dedication for meal

breaks, regardless of whether ISR took some or none of the 1 hour meal breaks.

      55.    Each day, the company has a standardized one (1) hour lunch break,

typically between 12 pm to 1:00 pm in Charlotte, and similar in the Rolling

Meadows office where all BDR and Closers are expected and required to use this

set one (1) hour time for a meal break or just for break time, without deviation.

      56.    Thus for each nine (9) hour work day scheduled and assigned by

Defendant, the company automatically deducts one (1) hour of pay for each day for

this break and informs BDR, Closers and other Inside Sales Representatives to

claim and report ONLY eight (8) hours in total if they worked the full shift of nine

(9) hours, regardless of whether Plaintiff or any other sales employee took 5

minutes of uninterrupted meal break, 10 minutes, or no uninterrupted break at all.

      57.    In the Arizona office (now closed), the Charlotte office (now closed

and ISR working solely remotely as of June 2020), and the Tampa office, ISR,

including Plaintiffs, routinely worked through meal breaks, sitting at their desks

and working while eating, or just working through the one (1) hour allotted time in




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order to attempt to meet sales goals and quotas, all of which was known to

management.

       58.      Plaintiffs allege for themselves, and on behalf of the putative class or

classes that they are entitled to unpaid wages from Defendants for overtime work

for which they did not receive overtime premium pay, as required by the overtime

laws of the states of North Carolina and Illinois including for all meal break times

they worked through without pay.

       59.      Defendants employ, upon information and belief and investigation, an

estimated 350 or more Inside Sales Representatives working from numerous

offices, including: Atlanta, Georgia; Boston, Massachusetts; Temple Terrace,

Florida; Chicago Illinois; Charlotte, North Carolina; San Diego, California; Irvine,

California; and Toronto, Canada.

       60.      From receipt of records from Defendant in the Garnick et al v Verizon

Connect FLSA national collective action lawsuit, it was determined there are 212

ISRs who worked in Illinois and 171 ISR, for a total of 393 class members at issue

in this case.

       61.      Upon information and belief, the Inside Sales Representatives in all

offices working under the various titles, are all paid under a common pay or

compensation plan of a base pay and a percentage to goal bonus structure.



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      62.    All BDR, Closers and all other Inside Sales Representatives under the

various job titles also perform their job duties in a uniform, similar manner; and all

are supervised and managed according to the same national standards and uniform

policies and procedures set by the Defendants and applicable to all offices.

      63.    All Inside Sales Representatives within this putative class here were

treated and classified by Defendants as either hourly, nonexempt employees or

salaried, non-exempt employees.

      64.    All Inside Sales Representatives were purposefully misled by

Defendants to believe it was, and is, lawful to take one (1) hour off of the forty-five

(45) hour work schedule for a mandatory meal break deduction without regard or

concern as to whether the employees ever took the full one hour break or worked

through the allotted one (1) hour meal breaks.

      65.    Said differently, Defendants failed to provide any mechanism and real

opportunity for Plaintiffs and all others Inside Sales Representatives to claim the

times they worked through the one (1) hour meal breaks or to log in and out for

breaks.

      66.    The actual work hours of all the Inside Sales Representatives were

never recorded by the Defendants. Instead, they instructed employees one time,

every two weeks, to simply put on the payroll database or website, eight (8) hours



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for each full day worked, and forty (40) hours for each week, unless they missed a

day.

       67.   The company time reporting system as well is pre-populated with a

total of eight (8) hours for each day and forty (40) hours for each workweek, and

no boxes or lines to put in break times started or ended, nor any place to log in the

actual times they started working each day or ceased working at the end of the day.

       68.   Moreover, all Inside Sales Representatives were routinely advised

subsequent to their acceptance of the offer to work for the Defendants, that the

sales positions are "not 9 to 5" (40 hours per week) jobs.

       69.   The Defendants maintain a company-wide policy throughout the

relevant three (3) year class period of willfully refusing to pay overtime wages for

all overtime hours worked for Inside Sales Representatives despite clear

knowledge Inside Sales Representatives have worked and continue to work

overtime hours which are unreported and off the clock.

       70.   As per the company pay stubs and electronically submitted

timesheets, it's generally, typically and almost always just going to say forty (40)

hours worked each week and eighty (80) hours for the two (2) week period.

       71.   Upon information and belief, all Inside Sales Representatives are

supervised by Directors and other managers, who very closely monitor



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performance, scrutinize sales representatives and their performance metrics, such

as phone calls and production, and report results to the corporate office under a

structured, corporate controlled manner. Defendants also micro-managed all Inside

Sales Representatives under daily and weekly scrutiny of the performance.

       72.      All Inside Sales Representatives handling outbound calls, primarily

those with titles of BDR are expected to make a certain number of daily phone

calls, and have sales goals or quotas for appointments for demonstrations of the

telematics GPS tracking products and services with businesses set up for the

Closers, which if not met, subject them to disciplinary action, including

termination of their employment.

       73.      All Closers similarly have sales goals and quotas related to the

number of appointments/demonstrations held and sales. The Closers’ primary job

duty is to sell the GPS tracking units, attend appointments set by the Business

Development Representatives with businesses, and demonstrate the products over

the internet.

       74.      Defendants also created and maintained a De Facto policy that ISR

should not report more than 40 hours, or overtime hours, on the time sheets unless

pre-authorized, but all ISR should work as many overtime hours as needed or




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required off the clock and “on their own dime” to meet quotas, metrics and sales

goals and thus keep their jobs.

      75.    Some Inside Sales Representatives call upon potential new clients or

customers, and others, upon information and belief, from Defendants’ job

descriptions, are assigned a group of current customers or clients to call. In all

cases, the primary job duties of all Inside Sales Representatives are to sell and the

sales take place generally over the telephone and internet to other businesses,

generally known as B2B sales.

      76.    The overtime wage provisions set forth in the Illinois and North

Carolina wage laws apply to Defendants, as they engage in interstate commerce.

Indeed, at all relevant times, Defendants engaged in interstate commerce and/or in

the production of goods for commerce within the meaning of FLSA Sec. 203.

      77.       The actual job duties performed by the proposed putative class or

classes of Inside Sales Representatives do not satisfy the elements of any

exemptions within FLSA §213, NC or Ill state laws, as all perform routine jobs

whose primary job duty was production, setting appointments for others to attempt

to sell GPS tracking products or other products or services, or actually attending

the appointments and making the sales pitches and demonstrations of the products

and services.



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      78.    Plaintiffs, as well as the members of the putative classes of similarly

situated persons routinely worked through part or all of their lunch breaks, worked

prior to or after the set and standardized nine (9) hour daily shift times, and also

performed other work incidental to their job duties by working at home or outside

the office making or receiving phones calls, sending or receiving and reading

emails without being paid for all these additional work hours.

      79.    Plaintiffs routinely engaged in making or receiving telephone calls,

reading or sending emails after business hours and on weekends, as to which

Defendants did not provide any guidance or opportunity to submit or claim these

additional work hours.

      80.    Many sales calls and demonstrations had to take place in the evening

hours lasting after the ending shift time to accommodate business owners and their

officers so as not to disrupt their business during standard daily working hours.

      81.    Plaintiff MAncini Bates routinely commenced working prior to the

scheduled shift times of 7:30 am until 4:30 pm and stayed after to perform work as

did other ISR working alongside Plaintiff.

      82.    Plaintiff Hall routinely commenced working prior to the scheduled

shift times of 8:00 am until 5:00 pm and stayed after to perform work as did other

ISR working alongside Plaintiff.



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      83.   Pursuant to the Illinois and NC wage laws, Defendants, as the

employer of Plaintiff and other similarly situated ISR, was and is required to pay

one and one-half times each employee's hourly rate for hours worked in excess of

forty (40) hours per week.

      84.   Defendants are fully aware that employees who work through lunches

come in early and stay late, as management can clearly see them doing so and

encourage employees to do so and take advantage of the additional time to meet

production goals and quotes.

      85.   Defendants were also fully aware that the nature of the position

required and did involve BDM/BDR making and receiving telephone calls and

sending and receiving emails outside the office, and at times accessing the CRM

salesforce system/programs.

      86.   Defendants also required a mandatory number of phone calls or dials,

demonstrations and talk times and appointments set, all of which produced a very

stressful, boiler room type environment and which combined with the threats of

discipline and termination of employment for not meeting production goals and

requirements, fostered the off the clock work by BDM/BDR and other ISR.

      87.   Upon information and belief, all of the top performing Inside Sales

Representatives routinely worked overtime and extra hours and there is a known



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direct correlation between the number of hours worked and the production and

productivity of the sales employees; Defendants encouraged ISR to work off the

clock overtime hours.

       88.    Defendants however, maintained a De Facto policy against ISR

reporting overtime hours, or complaining about not being paid for all overtime

hours worked each day and each week under fear and threat of scrutiny being

brought upon them for incurring overtime hours.

       89.    Defendants even suggested to ISR that all overtime had to be

“preapproved” by several levels of management, and thus, to many it was futile to

even ask if they were not already meeting and exceeding goals and quotas.

Defendant’s policy was circular, and the proverbial chicken and egg type game of

do not claim or seek to claim overtime without approval and without having met or

exceeded goals and quotas.

       90.    Thus, even when Plaintiffs did have an opportunity to claim and

report overtime hours, from fear of reprisal, he limited the hours reported, even

though he routinely worked through breaks, coming in early, doing work outside

the office.




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      91.   Similarly, one or more managers in Charlotte likewise simply input 80

hours of work for each bi weekly period for BDR and sales partners or closers

knowing the time records were inaccurate, understated and falsified.

      92.   In NC, Hall and other ISR would just at the last friday of the

bi-weekly work period, just fill in 8 hours per day and 40 for each week, without

regard to actual and accurate work times, such actions which were directed, ratified

and permitted by Defendants such that Defendants knew the imte records were

inaccurate and unreliable.

      93.   The Company maintained a code of silence when it came to the issue

of overtime hours and overtime wages, with literally no meetings or discussions

about the time tracking requirements of the FLSA and state wage laws, or how to

submit and claim overtime hours worked both inside and outside the office,

including the 1 hour meal breaks.

      94.   Defendants maintained a culture and environment of discouraging and

intimidating ISR from submitting, or reporting overtime hours worked because if

they were not the top producers or meeting all quotas and goals, they would be

subjected to a high level of scrutiny and face the ire of management.




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      95.    Defendant does not presently, and has not throughout the relevant

three (3) year class period,     properly clocked, tracked or recorded the actual

working hours of each Inside Sales Representative in all of their offices.

      96.    Defendants at times commanded and made it mandatory for Inside

Sales Representatives to come in prior to their scheduled shift time, stay later, or at

other times, work weekends or from home in some capacity.

      97.    Defendants strongly encouraged and pressured Inside Sales

Representatives to work overtime hours from home or to come in early or stay late.

      98.    In order to meet sales quotas and maximize their commission and

bonus, Plaintiffs and other Inside Sales Representatives would routinely work as

many overtime hours as they wished with the full knowledge, approval and

encouragement of sales Managers/Directors and officers of the Defendants.

      99.    Inside Sales Representatives were warned when falling short of quotas

that their jobs could be terminated and encouraged to work as many hours as

necessary and possible to hit goals and quotas; thus overtime hours increased

towards the end of the month by many BDR.

      100. Plaintiffs, and the class of similarly situated, like other Inside Sales

Representatives, questioned the Defendants about not being paid overtime wages

for ALL the overtime hours worked, and Defendants’ managers would warn Inside



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Sales Representatives that if they did not like the pay practices, they could leave

and have a bad reference.

      101. Other inquiries by employees questioning the failure to pay overtime

wages were given intentionally false communications that the company would

investigate and look into it, but never justifying the exemption, or simply state that

they are paid “salaried” employees such that they do not have a right to overtime or

premium pay.

      102. All Inside Sales Representatives followed corporate policies and

procedures applicable to all their offices where Inside Sales Representatives

worked.

      103. All Inside Sales Representatives were trained to perform their job

duties and expected to perform their job duties in similar manners throughout their

multiple offices.

      104. All Inside Sales Representatives attended sales meetings during which

the Defendants went over new procedures, policies and sales protocols and was

clear to Plaintiffs, applied to all Inside Sales Representatives employed by the

Defendant.

      105. Defendants should be well aware that the FLSA, and respective state

wage laws of North Carolina and Illinois require the regular rate of pay calculation



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to include not only the base salary, but the bonuses and commissions in the

calculation; thus the overtime rates of the Plaintiffs’ class must be based upon not

just the base salary, but the commissions and bonuses as well. See CFR 551.511.

Therefore, if an employee’s base wages are $35,000, and he or she earned $1,000

in the month while working overtime, the regular rate of pay is based upon $36,000

for the month.

      106. Defendants were aware that ISR, including BDR and Closers were

working off the clock, working more hours than reported, including coming in

early, working though allotted meal breaks and staying late.

      107. Moreover, Defendants were keenly aware that from the prior FLSA

lawsuit it settled that it had a history of permitting ISR to suffer to work off the

clock and without being paid premiums for all overtime hours worked.

      108. The Rule 23 Classes are so numerous that joinder of all Rule 23 Class

members in this case would be impractical and satisfies the numerosity

requirement of Rule 23. There are approximately 393 class members in the Rule

23 Class, or two classes: 212 ISRs who worked in Illinois and 171 ISRs who

worked in North Carolina.

      109. The wage laws of NC and ILL are both modeled after and by statute

follow the FLSA and related cases such that if Defendants are found to have



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violated the Ill overtime wage laws or the NC overtime wage laws, the other law

would presumably have been violated and vice versa.

      110. There is a well-defined community of interest among Rule 23 North

Carolina Class and the Illinois Class (or in a single Rule 23 class for both states)

class members, and common questions of law and fact predominate in this action

over any questions affecting individual members of the two individual or single

class or ISR working from Carolina or Illinois. These common legal and factual

questions include, but are not limited to, the following:

          a. Whether Plaintiffs and the Rule 23 classes of similarly situated were

             not compensated at a rate of one-and-one-half times their regular

             hourly rate for all hours worked in excess of 40 in any workweek

             pursuant to North Carolina state wage and hour laws or Illinois State

             wage laws in the preceding 3 years;

          b. Whether the time spent by Plaintiff sand the Rule 23 Classes

             performed off-the-clock work tasks is compensable under North

             Carolina or Illinois state wage and hour laws; and

          c. Whether the Plaintiffs in were willfully permitted to suffer to work off

             the clock and pursuant to a De Facto policy against reporting overtime

             hours in violation of the state overtime wage laws;



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         d. Whether the Defendants had actual or constructive knowledge of the

            off the clock work and whether Defendants willfully permitted and

            encouraged ISR wot work off the clock;

         e. Whether Defendants actions were willful such that a 3 year SOL

            should apply to the wage claims of the Plaintiffs and all class

            members;

         f. Whether Defendants time records are inaccurate, falsified and

            fraudulent such that they should be excluded from use in any court

            proceeding and violate the record keeping requirements of the NC and

            Illinois state wage laws;

         g. Whether defendants can demonstrate and proof any good faith defense

            to the presumption of awarding liquidated and treble damages for

            violations of the respective wage laws of NC and ILL;

         h. Whether Defendants should be enjoined from continued violations of

            the overtime laws of Illinois and North Carolina;

         i. And the proper measure of damages sustained by Plaintiffs and the

            Rule 23 Classes.

      111. Plaintiff Mancini Bates’ claims are typical of those of the Rule 23

Classes in that they and all other Rule 23 Class members suffered underpayment of



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overtime wages for off the clock work as a direct and proximate result of

Defendants’ common and systemic unlawful pay practices and company policies.

      112. Plaintiff Hall’s claims are identical to Mancini Bates claims, the same

as the 170 total party Plaintiffs in the GARNICK FLSA collective action case, and

both Mancini Bates and Hall like all the ISR in the respective class or classes were

hourly, non-exempt employees who should have been paid time and one half their

regulate rates of pay for all hours over 40 in each and every work week.

      113. Plaintiffs’ claims arise from the same policies, practices, promises and

course of conduct as all other Rule 23 Class members’ claims, and their legal

theories are based on the same legal theories as all other Rule 23 Class members.

      114. Plaintiffs Mancini Bates and Hall will fully and adequately protect the

interests of the Rule 23 Class or classes and have retained counsel who are

qualified and experienced in the prosecution of nationwide wage and hour class

actions, including numerous cases in this District. Neither Plaintiffs nor their

counsel have interests that are contrary to, or conflicting with, the interests of the

Rule 23 Class.

      115. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because, inter alia, it is economically

infeasible for Rule 23 Class members to prosecute individual actions of their own



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given the relatively small amount of damages at stake for each individual along

with the fear of reprisal by their employer. Prosecution of this case as a Rule 23

Class action will also eliminate the possibility of duplicative lawsuits being filed in

state and federal courts throughout the nation.

      116. This case will be manageable with either a single Rule 23 Class

action, or in 2 classes by the respective states. Plaintiffs and their counsel know of

no unusual difficulties in this case, and Defendants have advanced, networked

computer and payroll systems that will allow the class, wage, and damages issues

in this case to be resolved with relative ease in a single action.

      117. Because the elements of Rule 23(b)(3) are satisfied in this case, class

certification is appropriate. See Shady Grove Orthopedic Associates, P.A. v.

Allstate Ins. Co., 559 U.S. 393, 398 (2010) (“By its terms [Rule 23] creates a

categorical rule entitling a plaintiff whose suit meets the specified criteria to pursue

his claim as a class action”).

      118. Because Defendants acted and refused to act on grounds that apply

generally to the the single Rule 23 Class and equally to the 2 state law classes, and

declaratory relief is appropriate in this case with respect to the Rule 23 Classes as a

whole, class certification pursuant to Rule 23(b)(2) is also appropriate.




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       119. Defendants have acted on grounds that apply generally to the Illinois

and NC classes or the single combined class in that it has common policies and

practices of: (a) refusing to pay overtime compensation for all hours worked and

permitting class members to suffer to work off the clock; (b) failing to maintain

and provide accurate itemized wage statements to all members of the Class; (c)

failing to provide a 30 minute or more uninterrupted and bona fide duty free breaks

each day. Accordingly, injunctive and declaratory relief is appropriate for the

Class(es) as a whole.

       120. Class treatment is superior to alternative methods to adjudicate this

dispute because the claims of Plaintiffs Mancini Bates, Hall and the similarly

situated Class members suffered similar treatment and harm as a result of

systematic policies and practices, including unlawful pay practices such as

permitting them to suffer to work off the clock and suffering unpaid meal breaks,

and because absent a class action, Defendants' unlawful conduct will likely

continue un-remedied and unabated given that the damages suffered by individual

class members are small compared to the expense and burden of individual

litigation.

       121. Furthermore, Class certification is also superior because it will obviate

the need for unduly duplicative litigation which might result in inconsistent



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judgments about Defendants’ practices and as demonstrated by the pending

GARNICK FLSA national collective action case, and the subsequent and recently

filed Rule 23 class action in California styled Santillan v. Verizon Connect Inc,

3:21-cv-01257-H-KSC, SDCA, filed in July 2021.            More class members who

become aware of actions to hold the Defendants accountable for their unlawful pay

practices would likely follow now that “the cat is out of the bag” since Notice went

out to nearly 900 ISR including all the NC and ILL class members in September

2021 about the claims for overtime wages.

                        COUNT I
 FAILURE TO MAINTAIN TRUE & ACCURATE RECORDS OF HOURS
   WORKED IN VIOLATIONS OF THE FLSA AND WAGE LAWS OF
              NORTH CAROLINA AND ILLINOIS

      122. Plaintiffs adopt and reallege paragraphs one through 121 as if fully set

forth herein.

      123. Evidence reflecting the precise number of overtime hours worked by

Plaintiffs and every member of the Class or classes, as well as the applicable

compensation rates, is in the possession of Defendants.

      124.      However, and to the extent records are unavailable, Plaintiff, and

members of the Class, may establish the hours they worked solely by their




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testimony and the burden of overcoming such testimony shifts to the employer.

Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946).

      125. All employers subject to the NC and ILL wage laws must maintain

and preserve certain records describing the wages, hours and working conditions of

their employees.

      126. With respect to an employee subject to the Ill and NC wage laws, the

following records must be kept:

            a.     Personal information, including employee's name, home

                   address, occupation, sex, and birth date if under nineteen (19)

                   years of age;

            b.     Hour and day when work week begins;

            c.     Regular hourly pay rate for any week when overtime is
                   worked;

            d.     Total hours worked each workday and each workweek;

            e.     Total daily or weekly straight-time earnings;

            f.     Total overtime pay for the workweek;

            g.     Deductions from or additions to wages;

            h.     Total wages paid each pay period; and

            i.     Date of payment and pay period covered




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      127. Failure to comply with the recordkeeping requirements is a violation

of the Ill and NC wage laws for which criminal or civil sanctions may be imposed,

whether or not other statutory violations exist. See, 29 U.S.C. § 215(a)(5); Also

See, Dunlop v. Gray-Goto, Inc., 528 F.2d 792 (10th Cir. 1976).

      128. Accurate records are not only required for regulatory purposes, they

are critical to an employer's defense of claims that it violated the Act. An

employer that fails to maintain the required records cannot avoid liability in a

wage-hour case through argument that there is insufficient evidence of the

claimed hours worked. See, Wirtz v. First State Abstract Ins. Co., 362 F.2d 83

(8th Cir. 1966); Boekemeier v. Fourth Universalist Soc'y, 86 F. Supp. 2d 280

(S.D.N.Y. 2000).

      129.   An employer's failure to maintain records may create a presumption

in the aggrieved employee's favor. See, Myers v. The Copper Cellar Corp., 192

F.3d 546, 551 n.9 (7th Cir. 1999), citing Anderson v. Mt. Clemens Pottery Co.,

328 U.S. 680 (1946).

      130.   Defendants have failed to accurately and contemporaneously record,

track and report the Plaintiffs’ and Class of similarly situated members time and

work hours as required under the respective NC and ILL wage laws.




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      131. Defendants have failed to make, keep and preserve records, with

respect to each of its employees sufficient to determine the wages, hours and other

conditions and practices of employment in violation of NC and ILL respective

wage laws.

      132. Defendants did not require or even provide a means for ISR to clock

in and out for the meal breaks, and just did not care if they worked through some

or all of the meal breaks or took the whole meal break as they automatically

deducted 1 hour from their pay each day for this break time, and knew their time

records thus contained false information.

      133. Defendants also with actual and constructive knowledge encouraged

and permitted ISR to suffer to work off the clock, and submit inaccurate time

records directly with the assistance, directive and sometimes complete handling

by managers.


                        COUNT II
  CLAIMS BY ALL PARTY PLAINTIFFS FROM NORTH CAROLINA
   INDIVIDUALLY AND AS CLASS ACTION FOR VIOLATIONS OF
 NORTH CAROLINA WAGE AND HOUR ACT N.C.G.S. §§ 95-25.1, et seq.

      134. Plaintiffs Hall and Mancini Bates, individually and on behalf of all

others similarly situated reallege and reincorporate all allegations contained in

Paragraphs 1–121 as if incorporated herein.



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      135. At all times relevant to the action, Defendants were an employer

covered by the overtime mandates of the North Carolina Wage and Hour Act

(“NCWHA”), N.C.G.S. §§ 95-25.1, et seq., and Plaintiff and the Rule 23 North

Carolina Class are employees entitled to the NCWHA’s protections.

      136. Plaintiff Hall at all times material was similarly situated to the

members of the class she seeks to represent.

      137. The NCWHA entitles employees to compensation for every hour

worked in a workweek. See N.C.G.S. § 95-25.3.

      138. The NCWHA entitles employees to overtime compensation “not less

than time and one-half of the regular rate of pay of the employee for those hours

in excess of 40 hours per week.” See N.C.G.S. § 95-25.4.

      139. Defendants violated the NCWHA by regularly and repeatedly failing

to compensate the ISR putative class members of North Carolina for all overtime

hours worked, meaning all hours more than 40 in any work week.

      140. The foregoing conduct, as alleged, violates North Carolina G.S.

95-25.1 et seq., and any relevant rules adopted by the North Carolina

Administrative Code, Title 13, Chapter 12 (collectively, “North Carolina Wage

Laws”).




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      141. At all relevant times, Defendants have been, and continue to be,

“employers” within the meaning of the North Carolina Wage Laws. At all relevant

times, Defendant employed “employee[s],” including each of the members of the

North Carolina Class, within the meaning of the North Carolina Wage Laws.

      142. The North Carolina Wage Laws require an employer, such as

Defendant, to pay all compensation due to employees on their regular paydays.

N.C.G.C. § 95-25.6.

      143. At all relevant times, Defendants had a policy and practice of failing

and refusing to pay overtime pay to the North Carolina Class members for their

hours worked in excess of forty hours per workweek.

      144. Defendants violated North Carolina Wage Laws including, but not

necessarily limited to, North Carolina G.S. 95-25.6, by failing to pay the North

Carolina Class members overtime for work performed in excess of forty hours in

a workweek and hence, failing to pay all wages accrued to these workers on their

regular scheduled paydays.

      145. As a result of Defendants’ failure to record, report, credit, and furnish

to each member of the North Carolina Class their respective wage and hour

records showing all wages earned and due for all work performed, Defendants




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failed to make, keep, preserve, and furnish such records in violation of North

Carolina G.S. 95-25.15.

      146. The members of the single class or North Carolina Class also are

entitled to an award of their attorneys’ fees, costs, and expenses of this action to

be paid by Defendants.

      147. Hall seeks individually and on behalf of all class members, damages

in the amount of the respective unpaid overtime hours declared owed or awarded

by this court at a rate of not less than one and one-half times the regular rate of

pay for work performed in excess of forty hours in a workweek, plus all available

liquidated and other damages available under the North Carolina Wage laws.

      148. As a result, Plaintiffs and the Rule 23 Class members who worked

from the North Carolina office have and will continue to suffer loss of income and

other damages. Accordingly, Hall and all North Carolina class members are

entitled to recover unpaid wages owed, including an equal sum as liquidated

damages, plus costs and attorneys’ fees, and other appropriate relief under the

NCWHA at an amount to be proven at trial. See N.C.G.S. § 95-25.22.


                           COUNT III
  INDIVIDUAL ILLINOIS PARTY PLAINTIFFS CLAIMS AND CLASS
 ACTION CLAIM FOR VIOLATION OF ILLINOIS STATE OVERTIME
 WAGE LAW Illinois Minimum Wage Law (“IMWL”), 820 ILCS § 105/1, et
                              seq.


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      149. Plaintiff Mancini Bates, and all other class members who worked

from or reported to the Rolling Meadows, Illinois office, individually, reallege and

reincorporate all allegations contained in Paragraphs 1-121 as if incorporated

herein.

      150. At all times relevant to the action, Defendants were an employer

covered by the overtime mandates of the Illinois Minimum Wage Law (“IMWL”),

820 ILCS § 105/1, et seq.

      151. Plaintiff Mancini Bates and the Rule 23 Illinois Class members are

employees entitled to the IMWL’s protections as employees under this Act.

      152. Plaintiff Mancini Bates was at all times material a member of the

Illinois Class and was similarly situated to the members he seeks to represent.

      153. The IMWL entitles employees to compensation for every hour

worked in a workweek.

      154. Plaintiff Mancini Bates was promised orally and in writing, including

written agreements, offer letters, employee manuals and compensation plans and

agreements, that he and all ISR would be classified as non-exempt employees

under the state and Federal wage laws, and entitled to be paid premiums for all

hours worked more than 40 in each workweek.




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      155. The IMWL entitles employees to overtime compensation “not less

than time and one-half of the regular rate of pay of the employee for those hours

in excess of 40 hours per week.” See 820 ILCS 105/4a (from Ch. 48, par. 1004a)

Sec. 4a. (1)

      156. Defendants violated the IMWL by regularly and repeatedly failing to

compensate Plaintiff Mancini Bates and the Rule 23 Illinois Class for all overtime

hours worked, meaning all hours worked more than 40 in any work week. (820

ILCS 105/4a) (from Ch. 48, par. 1004a, Sec. 4a. (1)

      157. The foregoing conduct, as alleged, violates IMWL and any relevant

rules adopted by the state of Illinois. At all relevant times, Defendants have been,

and continue to be, “employers” within the meaning of the IMWL. At all relevant

times, Defendants employed “employee[s],” including each of the members of the

Illinois Class, within the meaning of the Illinois Wage Laws.

      158. The Illinois Wage Laws require an employer, such as Defendant, to

pay all compensation due to employees on their regular paydays.

      159. At all relevant times, Defendants had a policy and practice of failing

and refusing to pay overtime pay to the Illinois Wage Class members for their

hours worked in excess of forty hours per workweek.




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      160. Defendants violated Illinois Wage Laws including, but not

necessarily limited to, 820 ILCS 105/4a (from Ch. 48, par. 1004a), Sec. 4a., by

failing to pay Plaintiff Mancini Bates and the Illinois Class members overtime

premiums for all work performed in excess of forty hours in a workweek and

hence, failing to pay all wages accrued to these workers on their regular scheduled

paydays.

      161. As a result of Defendants’ failure to record, report, credit, and furnish

to each member of the Illinois Class their respective wage and hour records

showing all wages earned and due for all work performed, Defendants failed to

make, keep, preserve, and furnish such records in violation of 820 ILCS § 105/1

et seq.

      162. Plaintiff Mancini Bates and the Illinois Class seek recovery of

attorneys’ fees, costs, and expenses of this action to be paid by Defendants.

      163. Plaintiff Mancini Bates and the Illinois Class seek damages in the

amount of the respective unpaid wages earned and due at the regular hourly wage

rate, and at a rate not less than one and one-half times the regular rate of pay for

work performed in excess of forty hours in a workweek.

      164. As a result, Illinois Class members have and will continue to suffer

loss of income and other damages. Accordingly, Mancini Bates and the Rule 23



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Illinois Class are entitled to recover unpaid wages owed, including three times the

sum as liquidated damages (treble), plus costs and attorneys’ fees, and other

appropriate relief under the IMWL at an amount to be proven at trial.

          WHEREFORE, Plaintiff JEREMY MANCINI BATES and ELAINA

HALL, individually, and on behalf of all other similarly situated past and present

Inside Sales Representatives (ISR) working from or reporting to the NC and

Illinois offices of Defendants, seek Rule 23 class certification and the following

relief:

                 a. Designate Plaintiff JEREMY BATES MANCINI and ELAINA

                    HALL as Representatives of the single Class of NC and ILL

                    employees, or as class rep of 2 separate classes comprised of

                    Class A) the North Carolina Class and Class B0 the Illinois

                    Class, with the authority to execute any Collective Action or

                    Class Action settlement agreement the parties might reach,

                    subject to the Court’s approval before making any such

                    agreement binding;

                 b. That the Court find and declare Defendants in willful violation

                    of the overtime compensation sections of the wage laws of

                    Illinois and North Carolina;



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      c. That the Court find and declare Defendants’ violations of the

         state overtime laws were and are willful and lacking good faith

         basis for complying with the state and federal overtime laws;

      d. That the Court enjoin Defendants, under 29 U.S.C. § 217, from

         withholding future payment of overtime compensation owed to

         members of the Rule Class or classes;

      e. That the Court award to Plaintiffs Mancini Bates and Hall and

         the respective class or classes of similarly situated persons,

         overtime compensation at a rate of one and one half times their

         regular rates of pay, including the value of all compensation

         earned, for all previous hours worked in excess of forty (40) for

         any given week during the past three years, liquidated damages,

         of an equal amount of the overtime compensation, plus treble

         damages for the Illinois Class members, in addition to all

         penalties and interest on said award;

      f. That the Court award Plaintiffs JEREMY MANCINI BATES

         and ELAINA HALL and all class members recovery of their

         reasonable attorneys' fees and costs as per N.C.G.S. §§ 95-25.1,

         et seq; and the IMWL;



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      g. For an Order designating and certifying a single Class, or the

         two classes comprising the Illinois Class and the North Carolina

         Class as similarly situated so as to proceed as individual Class

         Actions pursuant to Fed. R. Civ. P. Rule 23;

      h. For an Order appointing Plaintiff’s counsel, Mitchell Feldman

         and Feldman Legal Group as Class Counsel for the Rule 23

         Class or classes certi-fied;

      i. That the Court finds Defendants willfully, and with a lack of

         good faith, violated the overtime provisions of the North

         Carolina overtime wage law, the Illinois Wage laws, including

         the time tracking requirements for non-exempt employees;

      j. That the Court apply a three (3) year statute of limitations to the

         violations of the North Carolina Class and Illinois Class;

      k. That the Court enjoin Defendant, pursuant to 29 U.S.C. § 217,

         from withholding future payment of overtime compensation

         owed to members of the Putative Classes of similarly situated;

      l. An order declaring Defendants as Joint Employers of the

         Plaintiff and class members, and hold them jointly and severally

         liable for all damages awarded,



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                m. That the Court award any other legal and equitable relief as this

                   Court may deem fair, just or appropriate.

                         DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint.

      Respectfully submitted this 14th day of November 2021



                                       /s/Mitchell L. Feldman
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